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AO 91 (Rev. I 1/11) Criminal Complaint


                               UNITED STATES DISTRICT COURT
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                                                      for the                             CLERK, U.:. Di;iTRIeT COURT
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                                           Central District of California                        DEC - 5 2019
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 United States of America                                                             I CENTRALDISIFI             i;ALiF(~RNIF,
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                                                                 Case No.
 ALEXANDER POLANCO,

                 Defendant                                                    ~~517~
                                         CRIMINAL COMPLAINT

        I,the complainant in this case, state that the following is true to the best of my knowledge and belief.
Between on or about the dates of March 2019 to June 2019, in the county of Los Angeles in the Central District
of California, defendants violated:
          Code Section                                          Offense Description

          21 U.S.C. § 841(a)(1)                                 Possession with Intent to Distribute
                                                                Controlled Substances


        This criminal complaint is based on these facts: Please see attached affidavit.
        D Continued on the attached sheet.


                                                                              Complainant's signature

                                                                             Eric Hakala, TFO,DEA
                                                                               Printed name and title
Sworn to before me and signed in my presence.

Date:                     ~ ~,
                                                                                 Judge's signature
City and state: Los Angeles, California                           Hon. Michael Wilner, U.S. Magistrate Judge
                                                                               Printed name and title
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                                 AFFIDAVIT

     I, Eric Hakala, being duly sworn, declare and state as

follows:

                    I.    PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a complaint and

arrest warrant for Alexander Polanco ("POLANCO") for a violation

of Title 21, United States Code, Section 841(a)(1) (Possession

with Intent to Distribute Controlled Substances).

     2.    The facts set forth in this affidavit are based upon my

personal observations, my training and experience, and information

obtained from various law enforcement personnel and witnesses.

This affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and arrest warrant and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and part only.

                   II.   BACKGROUND OF AFFIANT

     3.    I am a peace officer for the Los Angeles County

Sheriff's Department and have been employed in this capacity since

October 1991.   I am currently assigned to the narcotics bureau as

a narcotics investigator.     I am also currently assigned to the DEA

Los Angeles Field Division, Los Angeles International Airport

(~~LAX") Narcotics Enforcement Task Force (~~NTF"), as a Task Force

Officer (TFO) and have been so for approximately two and a half

years.




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     4.      In my current capacity as a DEA TFO and as a member of

the NTF, I primarily investigate large-scale drug trafficking and

money laundering organizations, focusing on the identification and

investigation of individuals using the airports to transport drugs

and/or drug proceeds.     Through my training and experience, I am

familiar with the methods of operation that drug traffickers use,

including the distribution, storage, and transportation of drugs

and the collection of proceeds from drug trafficking, and various

methods of money laundering used to conceal the nature of the

proceeds.     I am also familiar with the ways in which drug

traffickers communicate, including through coded communications in

calls, text messages, and messages through messaging applications.

     5.      In addition to the formal narcotics training received in

the Los Angeles County Sheriff's Academy, I completed a forty-hour

criminal investigations course.      I hold an Advanced Peace Officers

Standard of Training certificate and attended several seminars in

the field of criminal investigation and narcotics and substance

abuse.    I was promoted to narcotics bureau in September 2002 and

am still assigned to this bureau.        I have conducted interviews of

hundreds of illicit narcotic users, buyers, sellers, and

informants and their connection to the offenses previously

mentioned.    I have arrested, and assisted in hundreds of narcotic

related arrests.    I have investigated, written search warrants,

and made arrests dealing with narcotic related offenses.           I have

testified as an expert in narcotics related crimes, both in

municipal and superior court.      I have written state and federal



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warrants for locations, GPS tracking, pole cameras, and other

investigative leads associated with drug trafficking

organizations.

                    III. SIJNIl~ARY OF PROBABLE CAUSE

     6.    On December 5, 2019, Transportation Security

Administration ("TSA") officers at LAX found two packages of an

unknown substance in vacuum-sealed bags inside a checked suitcase

with baggage tags attached bearing the name of POLANCO.           That same

day, POLANCO boarded American Airlines ("AA") flight #253, which

was traveling from LAX to Kahului, Hawaii International Airport

(~~OGG") in Maui, Hawaii.    LAX NTF personnel responded to the TSA

baggage screening area and subsequently determined the packages

contained heroin, with a gross weight of 1.8 kilograms.

                    IV. STATEMENT OF PROBABLE CAUSE

     7.    Based on my review of law enforcement and TSA reports,

m y discussions with other law enforcement officers and TSA agents,

as well as my own observations and knowledge of the investigation,

I am aware of the following:

     A.    TSA Agents Identify Suspicious Substance in POLANCO's
           Checked Bag

     8.    On the morning of December 05, 2019, TSA Officer Mike

Reynolds was assigned to conduct security screenings of checked

luggage in the LAX Terminal 4 baggage screening room.          Officer

Reynolds was altered when a screening machine identified a

suspicious bulk mass inside a checked suitcase.         TSA Officer

Reynolds removed the suitcase, a pink American Tourister hard-




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sided suitcase, from the screening machine and opened the suitcase

to search for any hazardous materials.

     9.      TSA Officer Reynolds discovered a shoebox wrapped in

Christmas-themed wrapping paper inside the suitcase.          TSA Officer

Reynolds opened the box and found two other, Christmas wrapped

items.     He unwrapped one of the items and saw that the item was in

a vacuum-sealed bag.     TSA Officer Reynolds cut open the vacuum-

sealed bag and discovered a plastic "Tupperware" type container.

TSA Officer Reynolds removed the lid to the container and saw an

unidentified brown substance inside.       Suspecting that the packages

contained narcotics, TSA Officer Reynolds immediately contacted

TSA supervisor Ruth Tabuno.

     10.    TSA Supervisor Tabuno subsequently notified TSA

Transportation Security Specialist Explosives (`~TSSE") Manuel

Romero.    TSSE Romero arrived on scene and advised the packages

tested negative for any explosive and appeared to be narcotics.

     B.     LAXPD Officers Believe the Packages Contained Narcotics

     11.    TSA notified LAX Police Department (~~LAXPD") about the

suspicious baggage and responded to further inspect the suitcase.

Based on their training and experience, LAXPD Officers Sur and

Nugent believed the packages appeared to be narcotics.          At

approximately 8:30 a.m., DEA TFO Marlon Coronado and I were

notified of the suspected narcotics and responded to the LAX

Terminal 4 baggage screening room.
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     C.      The Packages in POLANCO's Suitcase Tested Positive for
             Heroin

      12. TFO Coronado and I arrived on scene at approximately

8:40 a.m. and secured POLANCO's suitcase and its contents.            TFO

Coronado and I then transported the suitcase and suspected

narcotics to the DEA LAXNTF office.        DEA Special Agent Norm

Tobias tested each package with a TruNarc Raman spectrometer used

for the rapid identification of suspected narcotics.

     13.     In total from POLANCO's suitcase, the shoebox contained

one vacuum-sealed package containing a Tupperware container and

the other vacuum-sealed bag contained two separate packages.           All

packages tested positive for heroin for a gross weight of 1.82

kilograms.

     D.    LAXPD Identifies POLANCO's Name on Baggage Tag and
           Confirms POLANCO Onboard Flight to Maui, Hawaii

     14.     Prior to our arrival on scene, the LAXPD officers

identified the baggage tag (#6001859103) on the Pink American

Tourister suitcase, which had POLANCO's name on it and his flight

information, AA253.

     15. Based on my knowledge of and experience with AA's

standard practices at LAX, the passenger whose name is on the

plane ticket and baggage tag must be physically present to

provide an AA representative his or her valid photo

identification.     The AA representative then verifies the

passenger's name and the date of birth on the reservation before

allowing that passenger to check a bag or suitcase.           That

passenger's name (and not someone else's) is then printed on the



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tag, which is then immediately affixed to the bag or suitcase.

AA then typically takes custody of the bags or suitcases from the

passenger, thus making it highly unlikely that someone else

removed the tag from the checked suitcase and placed it on a

different suitcase.     This leads me to believe that POLANCO

personally checked his Pink American Tourister suitcase with an

AA representative upon arriving at the airport.

      16. LAXPD Officers Perez and Garcia went to Terminal 4 and

spoke with AA Representative.       The American Airlines

representative informed the officers that AA253 had already

departed with POLANCO on board.

                          V.    CONCLUSION

     17.   Based on the foregoing, there is probable cause to

believe that POLANCO violated Title 21, United States Code,

Section 841(a)(1) (Possession with Intent to Distribute Controlled

Substances).



                                         Eric Hakala
                                         Drug Enforcement Administration
                                         Taskforce Officer (TFO)

Subs ribed to and sworn before me
this t day of December, 2019.


THE       ICHAEL WIENER
UNITED STATES MAGISTRATE JUDGE




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